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                             UNITED STATES DISTRICT COURT FOR
                                THE DISTRICT OF NEW JERSEY


    IN RE JOHNSON & JOHNSON “BABY
    POWDER” and “SHOWER TO SHOWER”
    MARKETING, SALES PRACTICES AND
    PRODUCTS LIABILITY LITIGATION
                                                                    MDL NO. 2738 (FLW) (LHG)
    THIS DOCUMENT RELATES TO:

    Michele Marion, as the Anticipated Personal
           Representative of the Estate of Pamela Kemp,
           Deceased vs. Johnson & Johnson, et al.
    Case No.: 3:21-cv-6521-FLW-LHG




                                         NOTICE OF FILING

           Notice is hereby given pursuant to Case Management Order No. 3 (Filing of Short Form

    Complaints) that a Short Form Complaint and Jury Demand has been filed on behalf of Plaintiff,

    Michele Marion, as the Anticipated Personal Representative of the Estate of Pamela Kemp,

    Deceased.

           This 14th day of July 2021.                    Respectfully submitted,


                                                          ONDERLAW, LLC

                                                 By:      /s/ James G. Onder
                                                          James G. Onder, #38049 MO
                                                          William W. Blair, #58196 MO
                                                          Stephanie L. Rados, #65117 MO
                                                          110 E. Lockwood, 2nd Floor
                                                          St. Louis, MO 63119
                                                          314-963-9000 telephone
                                                          314-963-1700 facsimile
                                                          onder@onderlaw.com
                                                          blair@onderlaw.com
                                                          rados@onderlaw.com
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                                         Certificate of Service

           The undersigned hereby certifies that this document was filed and electronically served by
    way of the Court’s electronic filing system this 14th day of July 2021.


                                                        /s/ James G. Onder
